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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MINNESOTA

ASI, INC.,                                   )
                                             )
            Plaintiff,                       )    CASE NO.: 0:19-cv-00763 (JRT/HB)
                                             )
v.                                           )
                                             )
AQUAWOOD, LLC; BANZAI                        )       CHAN MING YIU a/k/a SAMSON
INTERNATIONAL LTD.; CHAN                     )      CHAN, CHAN SIU LUN a/k/a ALAN
MING YIU a/k/a Samson Chan; CHAN             )     CHAN, LIU YI MAN a/k/a LISA LIU,
SIU LUN a/k/a Alan Chan; DOLLAR              )       TOY QUEST LTD., PARK LANE
EMPIRE LLC; BRIAN DUBINSKY;                  )       SOLUTIONS LTD., AND BANZAI
JUN TAI CO LTD.; LIU YI MAN a/k/a            )     INTERNATIONAL LTD.’S MOTION
LISA LIU; PETER MAGALHAES;                   )              TO DISMISS
MANLEY TOY DIRECT, LLC a/k/a                 )
Worldwide Toy Direct; MGS                    )
INTERNATIONAL, LLC; PARK                     )
LANE SOLUTIONS, LTD; RICHARD                 )
TOTH; TOY NETWORK, LLC; TOY                  )
QUEST LTD.; WELLMAX TRADING                  )
LTD.; WINNING INDUSTRIAL LTD.,               )
and MICHAEL WU,                              )
                                             )
            Defendants.                      )
                                             )
                                             )


            Defendants Chan Ming Yiu a/k/a Samson Chan, Chan Siu Lun a/k/a Alan Chan,

Liu Yi Man a/k/a Lisa Liu, Toy Quest Ltd., Park Lane Solutions Ltd., and Banzai

International Ltd.’s (collectively “Movants”), move this Court for an order dismissing the

Movants from this case for lack of personal jurisdiction and failure to state a claim upon

which relief may be granted. This Motion is based on the Memorandum of Law filed in

accordance with Local Rule 7.1 and the arguments of counsel, together with all of the

files, records, and proceedings to date.

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            Dated this 10th day of September, 2019.


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   Attorneys for Defendants Banzai International Limited, Chan Ming Yiu a/k/a
  Samson Chan, Chan Siu Lun a/k/a Alan Chan, Liu Yi Man a/k/a/ Lisa Liu, Park
                 Lane Solutions Limited, and Toy Quest Limited




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